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Approved: ___________________________________________
          Thane Rehn/Abigail S. Kurland
          Assistant U.S. Attorney

Before:   HONORABLE ROBERT W. LEHRBURGER
          United States Magistrate Judge
          Southern District of New York

- - - - - - - - - - - - - - - - x
                                :            SEALED COMPLAINT
UNITED STATES OF AMERICA        :            Violation of 18 U.S.C.
                                :            § 1349
               - v. -           :
                                :            COUNTY OF OFFENSE:
EPHRAIM JOSEPH ULLMANN,         :            NEW YORK
   a/k/a “Joseph Ullmann,” and :
JOHN R. RICE, III.,             :
                                :
          Defendants.           :
                                :
- - - - - - - - - - - - - - - - x

SOUTHERN DISTRICT OF NEW YORK, ss.:

     KRISTIN ALLAIN, being duly sworn, deposes and says that she
is a Special Agent with the Federal Bureau of Investigation
(“FBI”), and charges as follows:

                             COUNT ONE
                 (Conspiracy to Commit Wire Fraud)

     1.   From in or about at least November 2014, through at
least 2020, in the Southern District of New York and elsewhere,
EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,” and JOHN R.
RICE, III., the defendants, and others known and unknown,
knowingly and willfully did combine, conspire, confederate and
agree together and with each other to commit wire fraud, in
violation of Title 18, United States Code, Section 1343.

     2.   It was a part and an object of the conspiracy that
EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,” and JOHN R.
RICE, the defendants, and others known and unknown, having
devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, and
attempting to do so, would and did transmit and caused to be
transmitted by means of wire, radio, and television
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communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343, to wit, ULLMANN and RICE and
others participated in a fraudulent loan scheme to obtain and
steal advance fees provided by investors of multiple fledging
businesses when, in reality, there was no loan available to the
victims.

          (Title 18, United States Code, Section 1349.)

     The bases for my knowledge and for the foregoing charge
are, in part, as follows:

     3.   I am a Special Agent with the Federal Bureau of
Investigation (“FBI”) and have worked at the FBI since
approximately July 2017. I am currently assigned to the C-43
Squad, which investigates securities fraud and complex financial
crimes, where I am responsible for conducting and assisting in
investigations into money laundering, wire fraud, and other
types of financial crimes. I have participated in numerous
investigations, during the course of which I have (a) conducted
physical and wire surveillance; (b) executed search warrants at
locations where evidence of criminal activity has been found;
(c) reviewed and analyzed numerous taped conversations and
records of those engaged in criminal activity; (d) debriefed
victims of crime and cooperating witnesses; (e) reviewed the
returns from search warrants for email addresses and other
electronic evidence; and (f) conducted surveillance of
individuals engaged in criminal activity. As a result of my
training and experience, I am familiar with the techniques and
methods of operation used by individuals involved in criminal
activity to conceal their activities from detection by law
enforcement authorities. In addition, I have participated in
the investigation of fraud schemes and have participated in the
execution of search warrants seeking the type of information
sought herein.

     4.   I make this Affidavit based in part on my
participation in the investigation and conversations with other
FBI Special Agents, and other law enforcement officers;
conversations with witnesses and victims of the offenses
described herein; and reviews of reports and other documents
prepared by agents and others.

     5.   Throughout this Affidavit, where I assert that a
statement was made, I was not the individual to whom the

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statement was made unless I specifically so state. Rather,
information about the statement was provided by the specified
law-enforcement officer or other individual (who may have had
either direct or indirect knowledge of the statement) to whom I
have spoken or whose reports I have read and reviewed. Such
statements are set forth in substance and in part, unless
otherwise indicated.

     6.   Furthermore, the facts and circumstances of this
investigation have been summarized for the specific purposes of
this Application. I have not attempted to set forth the
complete factual history of this investigation or all of its
details. In making this application, I rely only on the facts
stated herein.

          Background, Relevant Individuals and Entities

     7.   Since in or about December 2018, the FBI has been
investigating a scheme to defraud victims of funds by inducing
them to wire money into bank accounts as collateral for a large
loan purportedly being offered on favorable terms (the
“Fraudulent Loan Scheme”). In reality, there is no loan
available, and the perpetrators of the Fraudulent Loan Scheme
make false representations to induce the victims to wire money
into accounts they control. I have personally interviewed or
spoken to other law enforcement agents who have personally
interviewed multiple people who claim to be victims of the
Fraudulent Loan Scheme, and have reviewed documents provided by
victims as well as documents obtained from banks through
subpoenas and from email service providers through search
warrants.

     8.   Based on my experience with this investigation, I have
learned about the following relevant individuals and entities:

          a.   EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph ULLMANN,”
the defendant, is a businessperson and is affiliated with
multiple companies, including but not limited to, Investors
Security Insurance Company, LTD (“ISIC”), registered in Oklahoma
under an American Indian tribe (the “Tribe”). At all times
relevant to this Complaint, ULLMANN resided and maintained an
office in Manhattan, New York.

          b.   JOHN R. RICE, III., the defendant, is a
businessperson who maintains an office in Manhattan, New York,
and is affiliated with multiple companies.


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              The SWIFT Correspondent Banking System

     9.   Based on my training, experience, and involvement in
this investigation, I know that the Society for Worldwide
Interbank Financial Telecommunication system (“SWIFT”) is a
messaging network used by financial institutions around the
world. SWIFT oversees and administers the core secure financial
messaging system used by more than 11,000 financial institutions
throughout the world. Accordingly, a SWIFT message is a standard
format message typically sent from one financial institution to
another to record a financial transaction between the
institutions. A SWIFT message typically includes information
about the sending bank and bank account, the receiving bank and
bank account, the date and amount of the transaction, and also
assigns a unique transaction reference number to the financial
transaction.

                     Standby Letters of Credit

     10. Based on my training and experience with this
investigation, I know that a standby letter of credit (“SBLC”)
is a legally binding document that guarantees a bank’s
commitment to provide funds to a seller if a bank’s client
defaults on an agreement. A SBLC is often used to facilitate
large sales of goods.

                Scheme to Defraud Victims-1 and -2

     11. As set forth in further detail below, from at least in
or about November 2014 up to and including in or about 2018,
EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,” and JOHN R. RICE
III, the defendants, and others known and unknown, participated
in a fraudulent loan scheme to obtain and steal advance fees
provided by investors in a business (the “Home Building
Victims”) that sought to obtain a loan that would enable the
Home Building Victims to establish a home building company (the
“Home Building Company”). In reality, there was no loan
available and the representations made by ULLMANN about
providing the Home Building Victims with a loan were false.

     12. Based on my interview of one of the investors in the
Home Building Company (“Victim-1”), I have learned the
following, in sum and substance:

          a.   Beginning in about 2014, Victim-1 and four other
investors created a business plan for the Home Building Company
and began to search for funding. In or about Fall 2014, Victim-1

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met EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,” the
defendant; ULLMANN represented to the Victims that ULLMANN could
secure funding for the Company.

           b.  ULLMANN told Victim-1, in sum and substance, that
ULLMANN had been hired by the Tribe to use Tribal bonds which
were earning a low interest rate as collateral for large loans
with a higher interest rate to generate additional income for
the Tribe.

          c.   ULLMANN represented that he would use the Tribal
bonds as collateral for a loan at a bank in London, England
(“Bank-1”), which would lend money to the Home Building Company
at an interest rate of approximately 4%, a portion of which
would go to the Tribe. In order to obtain the first installment
of the loan, the Company would have to provide $600,000 in “seed
capital” to a bank account designated by ULLMANN. In return, the
Victims would receive $125 million in several installments,
including a first installment of $6,000,000 within 8 to 12 weeks
of receipt of the seed capital.

          d.   Victim-1 and ULLMANN then engaged in negotiations
about the purported loan, including over the telephone and over
email.

          e.   On or about November 29, 2014, ULLMANN and
Victim-1 entered into a Loan and Security Agreement (the “LASA”)
between the Company, and ISIC, which ULLMANN described as one of
the Tribe’s companies which was purportedly represented by
ULLMANN.

          f.   Pursuant to the LASA, Victim-1 and the other
investors in the Home Building Company were to wire $600,000
into an account in the name of a different company (the “Bank-1
Account”) at Bank-1. On or about December 1, 2014, through
December 3, 2014, Victim-1 and two other investors in the Home
Building Company each wired $200,000 into the Bank-1 Account.
Based on representations by ULLMANN, Victim-1 and the other two
investors anticipated that the first draw of loan funds totaling
approximately $6 million would be available about 8 to 12 weeks
after the seed capital was transferred to the Bank-1 Account.

          g.   By January 2015, none of the loan funds had been
released and ULLMANN returned approximately $300,000 of the
$600,000 provided by Victim-1 and the other two original
investors. In or about March 2015, one of the other two
investors no longer wanted to participate in the venture and

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that investor’s investment was bought out by another investor
(“Victim-2”).

          h.   On or about March 11, 2015, a new home building
company was incorporated (“Home Building Company-2”). A
novation agreement between the Home Building Company, Home
Building Company-2 and ISIC was executed, which assigned the
LASA to Home Building Company-2.

          i.   From February 2015 through at least October 2018,
Victim-1 continued to communicate with ULLMANN, and ULLMANN
repeatedly represented to Victim-1 that ULLMANN was attempting
to arrange new financing for Victim-1’s company. ULLMANN
periodically identified other banks that would be providing the
funding, and sent emails attaching what were represented to be
bank documents regarding funding, but Victim-1 never received
the promised funding.

          j.   EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,”
the defendant, arranged for Victim-1 and Victim-2 to meet with
JOHN R. RICE III, the defendant, who ran an investment firm (the
“Firm”) that would administer the loan to Home Building Company-
2. On or about November 11, 2015, Victim-1 and Victim-2 met with
ULLMANN to discuss the loan at RICE’s office in Manhattan, New
York. ULLMANN told Victim-1 that ULLMANN had an office in RICE’s
office. At the meeting, RICE did not appear to know the details
of the LASA, despite ULLMANN having represented to Victim-1 that
RICE’S financial firm would administer the loan funds pursuant
to the LASA.

          k.   In or about 2016, ULLMANN told Victim-1 that
ULLMANN had secured funding for Home Building Company-2 through
a bank (“Bank-2”) located in Manhattan, New York.

          l.   On or about August 12, 2016, Victim-1 sent an
email to ULLMANN in which Victim-1 made a formal demand for the
return of the full remaining balance of the seed capital.
Approximately five minutes later, ULLLMANN sent an email to
Victim-2 (the “August 12, 2016 Email”).

          m.   The August 12, 2016 Email purported to attach a
SWIFT message from Bank-2 confirming the transfer of $6,000,000
to a bank account owned by Home Building Company-2. The SWIFT
message listed the “Sender” as Bank-2, listed the “Applicant” as
another entity with no apparent relationship to ISIC or Home
Building Company-2, and listed the “Beneficiary” as Home
Building Company-2.

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          n.   On or about August 25, 2016, ULLMANN sent an
email to Victim-1 (the “August 25, 2016 Email”), attaching a
slightly different variation of the SWIFT message, again
purportedly confirming a transfer of $6,000,000 to a bank
account owned by Home Building Company-2. The SWIFT message
again listed the “Sender” as Bank-2, listed the “Applicant” as
another entity with no apparent relationship to ISIC or Home
Building Company-2, and listed the “Beneficiary” as Home
Building Company-2.

          o.   On or about August 30, 2016, ULLMANN sent an
email to Victim-1 regarding the SWIFT message, in which ULLMANN
wrote: “Here is what the credit guys sent.” ULLMANN attached a
document entitled “THIS IS AN AUTOMATICALLY GENERATED
ACKNOWLEDGEMENT OO.pdf.” The attached document was addressed to
ULLMANN and stated that the status of the $6,000,000 payment was
“Pending OFAC”, which based on my training and experience I know
to be a reference to the Office of Foreign Asset Control.

          p.   Home Building Company-2 never received the
$6,000,000 from Bank-2 or from ULLMANN.

          q.   In or around September 2016, ULLMANN wired
approximately $54,000 to Home Building Company-2, describing
this payment, in sum and substance, as an interest payment on
the remaining seed capital that had been paid by the Home
Building Victims.

     13. I have spoken to an employee of Bank-2 (the “Bank-2
Employee”) regarding the SWIFT message that EPHRAIM JOSEPH
ULLMANN, a/k/a “Joseph Ullmann,” the defendant, sent to Victim-1
attached to the August 25, 2016 Email and I provided a copy of
the aforementioned SWIFT message attached to the August 25, 2016
Email to the Bank-2 Employee. The Bank-2 Employee informed me,
in sum and substance, that:

          a.   Bank-2 has no record of this SWIFT message, and
that the document that was attached to the August 25, 2016 Email
appears to be a forged or altered document that does not reflect
any actual or attempted transaction involving the Bank.

          b.   There are several errors in the SWIFT message
that indicate that it is not an authentic Bank-2 document. These
include, but are not limited to, the fact that the: (1)
aforementioned “Applicant” listed in the SWIFT message was not a
client of Bank-2, (2) the “Sender” portion of the SWIFT message

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included an incorrect derivation of Bank-2’s name, and (3) Bank-
2 did not have a Relationship Management Agreement (“RMA”) with
the bank where Home Building Company-2’s account was held, so
Bank-2 could not have sent this type of SWIFT message directly
to that bank.

          c.   Accordingly, based on my training and experience
on this investigation, as well as my conversation with the Bank-
2 Employee, I believe that the SWIFT message that ULLMANN
emailed to Victim-1 was fake.

     14. I have interviewed an individual (the “Individual”) who
runs a company that forms and manages “captive insurance
companies” (the “Captive Formation Company”). From speaking with
the Individual, I have learned the following, in sum and
substance:

          a.   The Individual met EPHRAIM JOSEPH ULLMANN, a/k/a
“Joseph Ullmann,” the defendant, through an acquaintance.

          b.   In or about 2013, utilizing the Captive Formation
Company’s services, ULLMANN formed ISIC as a captive insurance
company under the laws of the Tribe for about $5,000. While ISIC
was formed under the laws of the Tribe, it was not an arm of the
Tribe and it did not have access to Tribal bonds or other Tribal
assets.

          c.   A captive insurance company is typically an
entity formed by a parent company to provide insurance to the
parent company, which enables the parent company to access the
reinsurance market and set its own premium pricing without
dealing with a commercial insurance company.

          d.   While a captive insurance company could be formed
to insure against a borrower’s failure to repay a loan, a
captive insurance company could not be formed to lend out money
to other companies.

          e.   The Captive Formation Company filled in a tax
return for ISIC in 2013 which reflected that ISIC had no
business activity. On at least one other occasion, the Captive
Formation Company populated a tax form for ULLMANN, but in or
around 2015 ULLMANN stopped paying for the Company’s services.

          f.   Accordingly, based on my training and experience
in this investigation and my discussion with the Individual, I
believe that ULLMANN’S statements to Victim-1 that ISIC was one

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of the Tribe’s financial entities, that ULLMANN represented the
Tribe, and that the Tribe was willing to provide Victim-1 with a
loan collateralized by Tribal bonds were false and meant to
induce Victim-1 into providing ULLMANN with the “seed capital”
for the purported loan.

                     Scheme to Defraud Victim-3

     15. I have spoken with another victim (“Victim-3”) who
informed me of the following, in sum and substance:

          a.   Victim-3 is a businessperson who invests money
through a company (the “Victim-3 Company”), which is managed by
Victim-3 and Victim-3’s brother (the “Brother”).

          b.   In or about April or May 2016, Victim-3 was
approached by a friend (the “Friend”) with an investment
opportunity. The Friend had a business (the “Oil Company”) that
was in the energy and oil sector and the Friend needed several
million dollars to open a multi-million dollar line of credit
via a standby letter of credit (“SBLC”) in order to purchase oil
for resale.

          c.   The Friend informed Victim-3 that EPHRAIM JOSEPH
ULLMANN, a/k/a “Joseph Ullmann,” the defendant, and a
coconspirator not named herein (“CC-1”) were going to create a
line of credit so that the Friend could buy and sell fuel if
Victim-3 could provide seed capital.

          d.   In return for Victim-3’s investment, the Friend
promised Victim-3 that Victim-3 would have a 50% interest in the
Oil Company and receive 50% of the Oil Company’s profits.

     16. I have spoken to the Brother, from which I learned the
following, in sum and substance:

          a.   The Brother is Victim-3’s money manager. The
Victim-3 Company is a holding company that invests funds in
various ventures.

          b.   The Friend told the Brother that the Friend had
secured a supply of 2 million barrels of jet fuel specific to
commercial airlines. The deal would be more lucrative for the
Friend if instead of acting as a broker, the Friend owned the
fuel and sold it; in order to do so, the Friend needed funding
to purchase the fuel.


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          c.   The Friend introduced the Brother and Victim-3 to
CC-1. CC-1 indicated that CC-1 was in the fuel business and
could structure a deal to secure collateral for the Friend in
order to purchase the fuel.

          d.    The Friend told the Brother that a $3.6 million
investment of seed capital would secure a $55 million dollar
line of credit.

     17. I have spoken to the Friend, from whom I learned the
following, in sum and substance:

          a.   The Friend met CC-1 through a mutual acquaintance
in or about 2015. The Friend was told that CC-1 funded large
business projects.

          b.   CC-1 indicated that if the Friend could secure seed
capital, CC-1 could get a line of credit in the amount of $50
million from CC-1’s connections in New York so that the Friend
could buy and sell petroleum. The Friend would need to provide
$3.6 million in seed capital to secure the line of credit.

          c.    CC-1 told the Friend that the person in New York
who would open the line of credit was EPHRAIM JOSEPH ULLMANN, a/k/a
“Joseph Ullman,” the defendant.

          d.   CC-1 told the Friend that the $3.6 million in seed
capital would be held in escrow for up to a year or until the line
of credit opened. CC-1 indicated that the line of credit would
come from Wells Fargo or another “top ten” bank.

     18. From the Brother I further learned, in sum and
substance, the following:

          a.   On or about May 25, 2016, Victim-3 caused two
wire transfers into a bank account in the name of a business
entity controlled by CC-1 (the “CC-1 Company”). Specifically, $1
million was sent from an account in Victim-3’s name and $2.6
million was sent from an account in the name of the Victim-3
Company. For several months following the transfer of the seed
capital, however, the line of credit never materialized.

          b.   On or about May 31, 2016, CC-1 confirmed receipt
of the transferred funds and told them, in sum and substance,
that EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,” the
defendant, “from the insurance company” was processing the deal
and it would be completed within days.

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          c.   The Brother believed that ULLMANN worked for a
“captive insurance company” called ISIC Global.

          d.   Through his communications with ULLMANN and CC-1,
the Brother was led to believe that the line of credit would be
opened at a “top ten” bank, such as JP Morgan Chase or Wells
Fargo.

     19. I have reviewed financial records obtained from several
banks and have learned, among other things, the following:

          a.   On or about May 25, 2016, a bank account in the
name of Victim-3 wired $1 million into a bank account in the
name of the CC-1 Company (the “CC-1 Company Account”).

          b.   On or about May 25, 2016, a bank account in the
name of the Victim-3 Company wired $2.6 million into the CC-1
Company Account.

          c.   Immediately prior to the wires received from
Victim-3 and the Victim-3 Company, the CC-1 Company Account had
a balance of approximately $1,500.

          d.   On or about May 26, 2016, the CC-1 Company
Account wired $7,195 to a bank account in the name of a business
entity controlled by EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph
Ullmann,” the defendant (the “Ullmann Company Account”).

          e.   On or about May 31, 2016, the CC-1 Company
Account wired $3.4 million into a type of escrow account known
as an Interest on Lawyer Account in the name of an attorney (the
“Attorney IOLA Account”). Immediately prior to this transaction,
the Attorney IOLA Account had a balance of approximately
$78,000.

          f.   Although CC-1 had stated to the Friend that the
money from Victim-3 would be held in escrow for up to a year or
until the letter of credit opened, see supra ¶ 17(d), the bulk
of the Victim-3 funds were distributed to CC-1, JOHN S. RICE
III, the defendant, and ULLMANN shortly after they were wired to
the Attorney IOLA Account.

          g.   On or about June 3, 2016, the Attorney IOLA
Account wired $68,000 to the CC-1 Company Account.

          h.   On or about June 7, 2016, the Attorney IOLA
Account wired $30,000 to the Ullmann Company Account.

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          i.   On or about June 29, 2016, the CC-1 Company
Account wired $19,000 to the Ullmann Company Account.

          j.   Between on or about June 10, 2016, and June 28,
2016, the Attorney IOLA Account made three wire transfers for a
total of $2,532,731.56 to an account in the name of a company
controlled by RICE (the “Rice Company-1 Account”).

          k.   On or about June 22, 2016, the Attorney IOLA
Account wired $40,000 to an account in the name of a second
company controlled by RICE (the “Rice Company-2 Account”).

          l.   After receiving more than $2.5 million of Victim-
3’s funds from the Attorney IOLA Account, the Rice Company-1
Account made two wire transfers for a total of $510,000 to the
CC-1 Company Account on or about June 30, 2016, and August 31,
2016.

          m.   On or about August 4, 2016, RICE opened two
additional bank accounts in the name of Rice Company-1 (the
“Second Rice Company-1 Bank Account” and the “Third Rice
Company-1 Bank Account”).

          n.   On or about September 14, 2016, RICE drafted a
check from the Rice Company-1 Account for $1,987,301.24 payable
to the Second Rice Company-1 Account, and on or about October 4,
2016, the Second Rice Company-1 Account wired $1,887,801.24 to
the Third Rice Company-1 Account.

          o.   On or about October 28, 2016, the Third Rice
Company-1 Account wired $300,000 to the CC-1 Company Account.

          p.   Between on or about October 11, 2016, and on or
about June 16, 2017, RICE executed more than 15 wire transfers
out of the Third Rice Company-1 Account to various other bank
accounts. By on or about June 16, 2017, the vast majority of the
$1,887,801.24 in Victim-3 funds that had been transferred into
the Third Rice Company-1 Account had been dissipated, and the
remaining balance in the account was below $100,000.

     20. Based on my review of emails from an account used by
EPHRAIM JOSEPH ULLMANN, a/k/a “Joseph Ullmann,” the defendant
(the “Ullmann Email Account”), which I obtained pursuant to a
search warrant for the contents of the Ullmann Email Account, I
have learned the following, among other things:

          a.   On or about June 17, 2016, ULLMANN sent an email
to JOHN R. RICE III, the defendant, which stated the following:

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     Dear John
     please address the letter to [the Friend]
     he is the one in front of this Lift
     what they are doing is buying product that is in the tank
     what they have been asked to provide is a letter that is
     saying they have
     up to 45 million available to them in a letter of credit
     provided as a DLC

     Maybe it can say something like

     To: [the Friend], Managing Director
     [The Oil Company]
     Gentleman;
     This letter is provided as credit confirmation that based
     on the
     contract completed with your company and our credit group,
     we
     confirm that subject to the needs of your seller, we are
     standing by to deliver
     one or more DLC (documentary Letters of Credit) supplied in
     support of your
     product purchases, issued by our bank Wells Fargo delivered
     to your product
     seller at its bank, sent Bank to Bank to the account
     provided by your seller

     Please be advised that subject to the text of the DLC and
     final underwriting
     you have credit exceeding $45,000,000 available for your
     use in support of product purchases. .
     Please provide the TEXT of the requested DLC so that we may
     completed
     the processing of this credit on your behalf.

     Once issued the Letter of Credit can be verified on a bank
     to bank bases
     thank you for your patronage.

          b.   On or about June 17, 2016, RICE emailed to
ULLMANN a letter on the letterhead of a company controlled by
RICE (“Rice Company-3”), that was similar to the letter
suggested by ULLMANN and, in sum and substance, represented that
Rice Company-3 was ready to issue a cash-backed credit facility
from Wells Fargo or an equivalent bank (the “Rice Company-3
Letter”).

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          c.   On or about June 20, 2016, ULLMANN emailed the
Rice Company-3 Letter to CC-1 and also attached a purported
“compliance notice” (the “Compliance Notice”), which
represented, in sum and substance, that a “bank to bank” credit
had been established for the Oil Company and that the funds
would be available within two days. On the same date, CC-1 then
emailed the Rice Company-3 Letter and the Compliance Notice to
the Friend, copying ULLMANN on the email.

          d.   On or about June 23, 2016, ULLMANN sent an email
to the Friend that stated, in sum and substance, that ULLMANN
had had a “bank call” that day with a “credit manager in
London,” and that the Friend would be provided with a bank
account “containing funds exceeding your needs.”

     21. From the Friend, I further learned, in sum and
substance, that:

          a.   Despite having received the Rice Company-3 Letter
from CC-1 regarding a letter of credit to be issued by Wells
Fargo, no letter of credit from Wells Fargo was ever issued to
the Oil Company.

          b.   Despite having received the June 23, 2016, email
from ULLMANN regarding financing from London, no such financing
was ever received by the Oil Company.

          c.   On or about July 20, 2016, the Friend received an
email from CC-1 stating that another bank (“Bank-4”), which was
not a bank previously known to the Friend, was verifying that
funds exceeding $65 million were deposited into an account at
Bank-4 in London, UK.

          d.   Because the email from CC-1 was inconsistent with
CC-1’s prior representations, on or about July 21, 2016, the
Friend sent an email to CC-1 asking for the return of the $3.6
million that had been wired by Victim-3, but the money was not
returned.

          e.   The friend again emailed CC-1 on or about July 25,
2016, requesting that CC-1 return the $3.6 million that Victim-3
invested in support of Company-3’s attempt to sell petroleum. The
Friend wrote that “[n]ot one thing has gone the way it was
presented per the contract that was drawn up by you and Joseph
Ullman [sic]. This was suppose to go through JP Morgan which never
came to fruition, then switched the credit facility from Bank of
America, then to Wellsfargo which hasn’t happened, and it finally
came through at [Bank-4]. which is not a real bank. As it turns

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out the number and address you sent to me was to a virtual office
in London whom I can’t get in touch with anyone there and is all
over google as a fraudulent address for scams. This Bank was never
agreed upon by me or any of my associates as we were waiting for
a top 10 banking institution to handle our business. . . . [CC-
1], you are directly involved in what seems to be a fraudulent
scheme and will be treated as such if the fund s are not returned
immediately.”

     22. From the Brother, I have further learned, among other
things, the following:

          a.   Following the failure of the Oil Company to
receive the promised financing in summer 2016, the Brother
engaged in various communications with EPHRAIM JOSEPH ULLMANN,
a/k/a “Joseph Ullmann,” the defendant, JOHN R. RICE III, the
defendant, and CC-1, in which the Brother attempted to obtain
the promised financing or, in the alternative, the return of the
Victim-3 funds. During these communications, ULLMANN, RICE, and
CC-1 made representations that, in sum or substance, the Victim-
3 funds were being held in an account that prevented their
immediate return.

          b.   For instance, on or about November 30, 2016, CC-1
sent an email to the Brother, copying ULLMANN, in which CC-1
stated: “Regarding the return of the funds let me say that I
completely understand all concerns and eagerness. If it were in
my power to immediately undo all that has been done and return
the funds I would do so. However, just as I understand your
concerns, you must understand that I have to work within the
bounds of what is financially possible given all the various
changes from our original contract that have occurred. The money
was not simply placed in an account that was kept liquid,
unencumbered and immediately available as it forms part of the
security for the contemplated DLC. . . . At present I am told by
ISIC the funds have been invested in an investment of 12 months
duration and cannot be withdrawn until maturity.”

          c.   Based on my review of the financial data
described supra, ¶ 19, I have learned that the representation
made in CC-1’s November 30, 2016 email that the Victim-3 funds
were in an investment with a 12-month duration was false, and
that the vast majority of the Victim-3 funds had already been
transmitted to entities controlled by RICE, ULLMANN, and CC-1.

          d.   On or about December 8, 2016, ULLMANN wrote an
email to the Brother, copying CC-1, in which ULLMANN stated: “we
are stopping every thing and providing to you the original,

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invested funds, and a rate of return.” However, the Victim-3
funds were not returned following this email.

          e.   On or about February 3, 2017, CC-1 forwarded an
email from RICE to the Brother, which stated, in sum and
substance, that another bank (“Bank-5”) would be wiring the
Victim-3 funds back within “a few days.” The Brother had not
previously understood Bank-5 to be involved with the
transaction.

          f.   On or about February 16, 2017, the Brother,
ULLMANN, RICE, and CC-1 participated in a conference call to
address the Brother’s concerns regarding Victim-3’s money.
During the conference call, several excuses for why Victim-3’s
money was trapped were conveyed.

          g.   On or about June 8, 2017, RICE sent an email to
the Brother in which Rice stated, in sum and substance, that
there had been a delay in getting the funds returned due to an
“error of some sort in the SWIFT codes made by the sending
bank,” and that the correct SWIFT codes would be received “this
week.”

          h.   From in or around late 2017 through in or around
early 2018, the Brother spoke to RICE and CC-1 by telephone
approximately 7-10 times and during one conversation, RICE
represented to the Brother that Victim-3’s money was trapped
overseas and that retrieving it would require travel to Hong
Kong. At other times, RICE alluded to potential future
transactions that were on the horizon and told the Brother that
Victim-3’s investment was mingled with other investors’ money as
a part of a pooled blanket fund.

          i.   In addition to the email and telephone
communications, RICE sent a number of text messages to the
Brother, which continued at least into November 2019. In these
text messages, in sum and substance, RICE gave a variety of
excuses for why RICE was unable to return Victim-3’s money, and
regularly represented that the money was just a few days from
being returned. For example, on or about April 12, 2019, RICE
sent the Brother a text message stating that he was “waiting for
a SWIFT confirmation” which he needed before Victim-3’s money
could be returned. Approximately two weeks later, on or about
April 26, 2016, the Brother sent a follow-up message to RICE
asking about this, and RICE responded by representing that he
had spoken with a banker and that “the problem will be solved
within another 2-3 banking days.” On or about November 5, 2019,

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RICE sent the Brother a text message stating that he was
“[w]aiting for the signed trade contract documents to be
released.”

          j.   Based on my training and my experience in
investigating fraud schemes, I believe that these messages were
intended to placate the Brother who was continuing to request
the return of Victim-3’s investment, and to lull the Brother
into continuing to wait for the promised return of the funds,
rather than taking such steps as contacting law enforcement
regarding the fraud.

     23.   To date, Victim-3’s money has not been returned.

     WHEREFORE, I respectfully request that EPHRAIM JOSEPH
ULLMANN, a/k/a “Joseph Ullmann,” and JOHN R. RICE III, the
defendants, be arrested, and imprisoned or bailed, as the case
may be.


                                  S/ by the Court with permission
                                 _______________________________
                                 KRISTIN ALLAIN
                                 Special Agent
                                 Federal Bureau of Investigation

Sworn to before me this
2d day of August, 2021


______________________________
HONORABLE ROBERT W. LEHRBURGER
United States Magistrate Judge
Southern District of New York




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